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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

NEIL GILMOUR, III, SOLELY IN HIS                    §
CAPACITY AS TRUSTEE OF THE                          §
VICTORY MEDICAL CENTER                              §
LANDMARK UNSECURED                                  §
CREDITORS’ GRANTOR TRUST,                           §
                                                    §
            Plaintiffs,                             §
                                                    §       CIVIL ACTION NO. 4:17-02714
v.                                                  §
                                                    §
HEALTHSMART BENEFIT                                 §
SOLUTIONS, INC. AND                                 §
HEALTHSMART CARE                                    §
MANAGEMENT SOLUTIONS, LP,                           §
                                                    §
            Defendants.                             §


                   DEFENDANTS HEALTHSMART BENEFIT SOLUTIONS, INC.,
                  AND HEALTHSMART CARE MANAGEMENT SOLUTIONS, LP’S,
                                NOTICE OF REMOVAL


            Defendants HealthSmart Benefit Solutions, Inc., and HealthSmart Care Management

Solutions, LP, file this Notice of Removal pursuant to 28 U.S.C. §§ 1332, 1441(a), and 1446(a),

because there is complete diversity between the parties and the amount in controversy exceeds

$75,000.

      1. Plaintiff is Neil Gilmour III, solely in his capacity as trustee of the Victory Medical

            Center Landmark Unsecured Creditor’s Grantor Trust.

      2. Plaintiff filed this suit in the District Court for Montgomery County, Texas, on June 2,

            2017. Plaintiff brings causes of action for negligent misrepresentation and violations of

            Texas Insurance Code §§ 541.051, 541.052, 541.056, 541.060(a)(2)(A), 541.060(a)(3),

            541.060(a)(7), and 542.046(a) alleging that Defendants negligently misrepresented


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            insurance coverage information and committed Texas Insurance Code violations related

            to medical treatment rendered to a patient in San Antonio, Texas, in late August 2013.1

      3. Defendants were served with the suit on August 9, 2017. Defendants file this Notice of

            Removal within the 30-day time period required by 28 U.S.C. § 1446(b). Bd. of Regents

            of Univ. of Tex. Sys. v. Nippon Tel. & Tel. Corp., 478 F.3d 274, 278 (5th Cir. 2007).

      4. Removal is proper because there is complete diversity between the parties. 28 U.S.C. §

            1332(a); Johnson v. Columbia Props. Anchorage, L.P., 437 F.3d 894, 899-900 (9th Cir.

            2006). Plaintiff Neil Gilmour III is a citizen of Pennsylvania.2 (For diversity purposes,

            under the circumstances of this case the citizenship of the trustee Plaintiff is the state of

            his citizenship. See Bynane v. Bank of N.Y. Mellon, 866 F.3d 351 (5th Cir. 2017).)

            Defendants are citizens of Texas.3             Additionally, according to Plaintiff’s Original

            Petition, the amount in controversy is $2,208,233.40, which far exceeds $75,000 as

            required.4 28 U.S.C. § 1332(a); Andrew v. E.I. du Pont de Nemours & Co., 447 F.3d 510,

            514-15 (7th Cir. 2006).

      5. Pursuant to 28 U.S.C. § 1446(a) and LR81, an index of matters being filed5, copies of all

            executed process6, pleadings7, orders8, docket sheet9, and list of all counsel of record10

            are included and/or attached as exhibits to this Notice.

      6. Venue is proper for removal purposes in the Southern District of Texas under 28 U.S.C. §

            1441(a) because the 284th Judicial District Court of Montgomery County, Texas, the state

1
  See Plaintiff’s Original Petition and Request for Disclosure at 3-12.
2
  http://www.gilmour-consulting.com/Contact_Us_1.html
3
  Affidavit of Braden Brown at ¶ 3 attached hereto as Exhibit A.
4
  Plaintiff’s Original Petition and Request for Disclosure at 6-7 attached hereto as Exhibit A.
5
  Exhibit A.
6
  Exhibit B.
7
  Exhibits B, C.
8
  None.
9
  Exhibit D.
10
   Exhibit E.

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            court where the suit has been pending, is located in this district.

      7. Defendants will promptly file a copy of this Notice of Removal with the Montgomery

            County District Clerk.

      8. Defendants therefore ask the Court to accept the removal of this suit to the U.S. District

            Court for the Southern District of Texas.


                                                   Respectfully submitted,



                                                   By:
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                                                   HealthSmart Benefit Solutions, Inc. and
                                                   HealthSmart Care Management Solutions, LP

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                                      Certificate of Service

       The undersigned certifies that a true and correct copy of the foregoing document was
served via CM/ECF on September 8, 2017, on Plaintiff’s attorney of record:

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                                             COLLIN K. BRODRICK




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